            Case 1:21-cr-00175-TJK Document 717 Filed 03/22/23 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      *
                                              *
       v.                                     *     No. 21-CR-175 (TJK)
                                              *
ZACHARY REHL,                                 *
     Defendant                                *
                                             ****

     DEFENDANTS CORRECTED MOTION TO COMPEL DISCLOSURE OF ALL FBI INTERVIEW
      REPORTS AND ALL DOJ MEMOS RELATING TO THE RECORDING AND REPORTING
                             OF THE DEFENSE TEAM

       Defendant Zachary Rehl, through counsel, and pursuant to the Due Process Clause of the

Fifth Amendment, Sixth Amendment, and the Court’s supervisory power, respectfully moves this

Court for an Order compelling the government to disclose to the defense all reports (e.g., FBI-

302 reports) and recordings that have been prepared in this case relating to any person, including

but not limited to Confidential Human Sources and any other witnesses that the FBI

communicated with regarding the possibility of any recordings or reports that it may have

regarding the defense team, all interview reports or FBI memos relating to the recording or

reporting of the defense team, and all internal memos prepared by the United States Attorney’s

Office and Department of Justice attorneys relating to any reporting on and recordings of the

defense team. Mr. Rehl is filing this motion on his own behalf and on behalf of all defendants

with the consent for their counsel.

       Mr. Rehl and the defendants are herewith preparing a separate motion to dismiss the

Indictment or for an evidentiary hearing, raising serious and substantiated allegations of




                                                1
          Case 1:21-cr-00175-TJK Document 717 Filed 03/22/23 Page 2 of 3




governmental misconduct surrounding the surreptitious invasion and interference of the defense

team by the government through a confidential human source, at the government’s behest.

        This instant motion is based on a disclosure made to defense counsel today, March 22,

2023, at the end of the Court’s proceedings wherein the government stated that one of the

witnesses (who was disclosed to the United States and the Court as directed by the Court in

December 2022) who was scheduled to appear in the defense case the following day has been

serving as a CHS since April, 2021 through at least, January 2023. During this period of time, the

CHS has been in contact via telephone, text messaging and other electronic means, with one or

more of the counsel for the defense and at least one defendant. During this period of time, the

CHS also participated in prayer meetings with members of one or more of the defendants’

families. The CHS also engaged in discussions with one of the defendant’s family members about

replacing one of the defense counsel. The above may not include all the communications that were

initiated by or engaged in by the CHS.

        The allegations about the existence of yet one more previously undisclosed CHS after various

other alleged full and complete disclosures of all the CHS’s involved in the case demonstrate that there

are reasons to doubt the veracity of the government’s explanation and justification for withholding

information about the CHSs who have been involved in the case. Moreover, the government disclosed

this information for the first time on the day before the witness was scheduled to appear.




                                                   2
          Case 1:21-cr-00175-TJK Document 717 Filed 03/22/23 Page 3 of 3



        Accordingly, Mr. Rehl and the other defendants in the instant case respectfully request that the

Court compel the government to disclose all information, recordings and reports set forth above so that

the defense team (and the Court) can have a complete picture of what happened, and why.

        The defendants request an immediate emergency hearing and adjournment of the Court

proceedings until these issues have been considered and resolved.

                                                        Respectfully submitted,

                                                        /s/
                                                        _____________________________________
                                                        Carmen D. Hernandez
                                                        7166 Mink Hollow Rd
                                                        Highland, MD 20777
                                                        (240) 472-3391



                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the instant Motion was served via ECF this 22 day of March, 2023

on all counsel of record.

                                                        /s/
                                                        _____________________________________
                                                        Carmen D. Hernandez




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